      Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 1 of 51




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                            §
                                                   §
                     Plaintiffs,                   §
                                                   §
           v.                                      §
                                                          Case No. 1:14-CV-254
                                                   §
UNITED STATES OF AMERICA, et al.,                  §
                                                   §
                                                   §
                     Defendants,
                                                   §
and                                                §
                                                   §
JANE DOE #1, JANE DOE #2, and JANE                 §
DOE #3,                                            §
                                                   §
                     Proposed Defendant–           §
                     Intervenors                   §
                                                   §


                                   APPENDIX OF DECLARATIONS

           Pursuant to the Court’s Civil Procedures, rule 7(b), the Proposed Defendant-Intervenors

Jane Doe #1, Jane Doe #2, and Jane Doe #3 hereby provide the Court with copies of the

following declarations cited in support of the Proposed Defendant-Intervenors’ Motion for Leave

to Proceed Under Pseudonyms and Memorandum of Law in Support.

 NO.                                          DECLARATION

      1.        Declaration of Defendant Intervenor Movant Jane Doe #1

      2.        Declaration of Defendant Intervenor Movant Jane Doe #2

      3.        Declaration of Defendant Intervenor Movant Jane Doe #3

      4.        Declaration of Nina Perales
   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 2 of 51




Dated: January 14, 2015                     Respectfully submitted,

LAW OFFICE OF FRANK COSTILLA, L.P.          MEXICAN AMERICAN LEGAL DEFENSE
Frank Costilla (Tex. Bar. No. 04856500)     AND EDUCATIONAL FUND
5 E. Elizabeth Street                       By__/s/_Nina Perales______________
Brownsville, Texas 78520                    Nina Perales (Tex. Bar No. 24005046;
Phone: 956-541-4982                         Southern District of Tex. Bar No. 21127
Facsimile: 956-544-3152                     Attorney-in-Charge
                                            David Hinojosa (Tex. Bar No. 24010689)
                                            110 Broadway, Suite 300
                                            San Antonio, Texas 78205
                                            Phone: (210) 224-5476 (telephone)
                                            Facsimile: (210) 224-5382 (facsimile)


                                            O’MELVENY & MYERS LLP
                                            Linda Smith (Cal. Bar No. 78238)
                                            Adam P. KohSweeney (Cal. Bar No. 229983)
                                            J. Jorge deNeve (Cal. Bar No. 198855)
                                            1999 Avenue of the Stars, 7th Floor
                                            Los Angeles, CA 90067-6035
                                            Phone: 310-246-6801
                                            Facsimile: 310-246-6779

                                            (Requests for pro hac vice admission to be
                                            filed)


    Attorneys for the Proposed Defendant-Intervenors JANE DOE #1, JANE DOE #2, and
                                      JANE DOE #3




                                          -2-
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 3 of 51




                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on the 14th day of January 2015, I electronically
filed the above and foregoing document using the CM/ECF system, which automatically sends
notice and a copy of the filing to all counsel of record.

                                                       /s/ Nina Perales
                                                       Nina Perales (Tex. Bar No. 24005046)
                                                       Attorney for Proposed Defendant-
                                                       Intervenors




                                                -3-
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 4 of 51




                               /P
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 5 of 51




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

State of Texas, et al.,                    §
                                           §
               Plaintiffs,                 §
                                           §
                                           §
            v.                             §       Civil Action No. 1:14-cv-254
                                           §
                                           §
United States of America, et al.,          §
                                           §
               Defendants.                 §
                                           
                                           
            ͓ͳ

     ͓ͳǤ ͳͺ 
 Ǥ

    ͳǤ ǡǤ ͳͷǤ

    ʹǤ   ͳͻ͹ͳǡǡ Ǥ  

          ͺǤ     

         Ǥ

    ͵Ǥ    Ǥ ǡ          ǡǢ

          Ǥǡ          ǡ

         ʹͳǡ Ǥ

                       ͳͶǤ     ͺ

          Ǥ  Ǥ

    ͶǤ    ǤǤ Ǥ 

          ǤǤ
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 6 of 51




    ͷǤ   ǡ   

            Ǥ

    ͸Ǥ     ͳͻͻͻǤǤ 

         Ǥ

    ͹Ǥ       ǤǤ

           ǡ  ǤǤ ʹͲͳͲǡ 

         ǤǤ  

         Ǥ

    ͺǤ      

         Ǥ

    ͻǤ     ǤǤǡ  

          Ǥ 

         Ǥ 

          ǡ  

          Ǥ 

           

           

          ǡ

         ǤǤ

    ͳͲǤ   ǡ

             

          Ǥ


r   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 7 of 51




    I declare under penalty of perjury pursuant to 28 U.S. Code§ 1746 that the

    foregoing is true and correct.


    Executed this I 2._ day of January, 2015 in Edinburg, Texas.


                                                         J   A#f D 8 E #     J_
                                                         '
                                                        JANE DOE #1

    CERTIFICATE OF TRANSLATION

    1. My name is David G. Hinojosa and I speak English and Spanish.

    2. I sight translated the foregoing declaration from English to Spanish by reading it
    to JANE DOE #1 in Spanish.

    3. JANE DOE #1 affirmed that the contents of the declaration were true and correct
    to the best of his knowledge.

    I declare under penalty of perjury pursuant to 28 U.S. Code§ 17 46 that the

    foregoing is true and correct.

    Executed this   12   day of January, 2015 in McAllen, Texas.
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 8 of 51




                               /P
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 9 of 51




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                             BROWNSVILLE DIVISION

State of Texas, et al.,                 §
                                        §
               Plaintiffs,              §
                                        §
                                        §
           v.                           §      Civil Action No. 1:14-cv-254
                                        §
                                        §
United States of America, et al.,       §
                                        §
               Defendants.              §
                                        
                                        
            ͓ʹ

    ͓ʹǤ ͳͺ 

 Ǥ


    ͳǤ    ǡǤ ͳ͵Ǥ

    ʹǤ   ͳͻͺ͹  ǡ  ǡ Ǥ  

          ͷǤ

         ǡ  ͳͲǤ

    ͵Ǥ    Ǥ            

                   Ǥ

    ͶǤ     ǤǦ

         Ǥ   ǡ 

          ǯǤ
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 10 of 51




   ͷǤ      ǡ 

           Ǥ   

          ǯ Ǥ

   ͸Ǥ       ǤǤ

          ǡ  ǤǤ ʹͲͳͲǡ 

        ǤǤ  

        Ǥ

   ͹Ǥ      

        Ǥ

   ͺǤ     ǤǤǡ  

         Ǥ 

        Ǥ 

         ǡ  

         Ǥ 

          

          

         ǡ

        ǤǤ

   ͻǤ     ǡ

            

         Ǥ

                             
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 11 of 51




 I declare under penalty of perjury pursuant to 28 U.S. Code§ 1746 that the

 foregoing is true and correct.

                    -r{l
 Executed thisl?.:day of January, 2015 in McAllen, Texas.




                                                      JANE DOE #2

 CERTIFICATE OF TRANSLATION

 1. My name is David G. Hinojosa and I speak English and Spanish.

 2. I sight translated the foregoing declaration from English to Spanish by reading it
 to JANE DOE #2 in Spanish.

 3. JANE DOE #2 affirmed that the contents of the declaration were true and correct
 to the best of his knowledge.

 I declare under penalty of perjury pursuant to 28 U.S. Code§ 17 46 that the

 foregoing is true and correct.
                    f>
 Executed this   ['l,   day of January, 2015 in McAllen, Texas.




                                                       David G. Hinojosa
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 12 of 51




                                /P
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 13 of 51




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

State of Texas, et al.,                 §
                                        §
               Plaintiffs,              §
                                        §
                                        §
           v.                           §      Civil Action No. 1:14-cv-254
                                        §
                                        §
United States of America, et al.,       §
                                        §
               Defendants.              §
                                        
                                        
            ͓͵

    ͓͵Ǥ ͳͺ 

 Ǥ


    ͳǤ   ǡǤ ͳͳǤ

    ʹǤ   ͳͻͺ͵ ǡǡ  

           Ǥ

    ͵Ǥ   Ǥ 

         ǡ  Ǥ 

            

         Ǥ

    ͶǤ       

         ǤǤ  ǡ  ǤǤ ʹͲͳͲǡ 

         ǤǤ  

         Ǥ
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 14 of 51




   ͷǤ      

        Ǥ

   ͸Ǥ     ǤǤǡ  

         Ǥ 

        Ǥ 

         ǡ  

         Ǥ 

          

          

         ǡ

        ǤǤ

   ͹Ǥ     ǡ

            

         Ǥ

                             
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 15 of 51




 I declare under penalty of perjury pursuant to 28 U.S. Code§ 17 46 that the

 foregoing is true and correct.

                   1JI
 Executed this   JL day of January, 2015 in Donna, Texas.
                                                      j (l'(\~   ne e_    ft 3
                                                            JANE DOE #3


 CERTIFICATE OF TRANSLATION

 1. My name is David G. Hinojosa and I speak English and Spanish.

 2. I sight translated the foregoing declaration from English to Spanish by reading it
 to JANE DOE #3 in Spanish.

 3. JANE DOE #3 affirmed that the contents of the declaration were true and correct
 to the best of his knowledge.

 I declare under penalty of perjury pursuant to 28 U.S. Code§ 1746 that the

 foregoing is true and correct.

 Executed this   IZ day of January, 2015 in Donna, Texas.
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 16 of 51




                                No. 4
   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 17 of 51




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                         §
                                                §
               Plaintiffs,                      §
                                                §
       v.                                       §
                                                       Case No. 1:14-CV-254
                                                §
UNITED STATES OF AMERICA, et al.,               §
                                                §
                                                §
               Defendants,
                                                §
and                                             §
                                                §
JANE DOE #1, JANE DOE #2, and JANE              §
DOE #3,                                         §
                                                §
               Proposed Defendant–              §
               Intervenors                      §
                                                §


                             DECLARATION OF NINA PERALES

       I, Nina Perales, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 as

follows:

       1.      My name is Nina Perales. I am over 21 years of age and am competent to testify

as to the facts stated herein based on my personal knowledge and review of relevant documents.

       2.      I am a member of the State Bar of Texas. I am an attorney with the Mexican

American Legal Defense & Educational Fund and am one of the lawyers responsible for

representing Proposed Defendant-Intervenors Jane Doe #1, Jane Doe #2, and Jane Doe #3 in this

action. I make this Declaration in order to provide the Court copies of publicly available

documents that are cited in Proposed Defendant-Intervenors’ Motion for Leave to Proceed Under
   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 18 of 51




Pseudonyms And Memorandum In Support Thereof. If sworn as a witness, I could and would

testify competently to those facts.

       3.      Attached hereto as Exhibit A is a true and correct copy, pulled from the

LexisNexis service, of the article Volunteers Surging to Patrol Border, published in the Houston

Chronicle on January 6, 2015, at page A1.

       4.      Attached hereto as Exhibit B is a true and correct copy, pulled from the

LexisNexis service, of the article Dan Patrick Linking Immigration and Violent Crime, published

by the Houston Chronicle on January 19, 2014, a version of which is available online at

http://www.houstonchronicle.com/news/columnists/fikac/article/Dan-Patrick-linking-

immigration-and-violent-crime-5158206.php.

       5.      Attached hereto as Exhibit C is a true and correct copy, pulled from __, of the

article Dan Patrick Has Called Illegal Immigration An Invasion And Said Immigrants Bring

‘Third-World diseases’, published by the Austin-American Statesman on June 20, 2014, a

version of which is available online at

http://www.politifact.com/texas/statements/2014/jun/20/battleground-texas/dan-patrick-has-

called-illegal-immigration-invasio/.

       6.      Attached hereto as Exhibit D is a true and correct copy, pulled from the

LexisNexis service, of the article Militias Patrolling Texas Border Draw Scrutiny, Concern,

published by the Los Angeles Times on July 31, 2014, a version of which is available online at

http://www.latimes.com/nation/nationnow/la-na-texas-border-militias-20140731-story.html.

       7.      Attached hereto as Exhibit E is a true and correct copy, pulled from the

LexisNexis service, of the article Kris Kobach Dismissed Controversy Over ‘Ethnic Cleansing’
   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 19 of 51




Comment, published by the Wichita Eagle on November 21, 2014, a version of which is

available online at http://www.kansas.com/news/politics-government/article4047969.html.

       8.         Attached hereto as Exhibit F is a true and correct copy, pulled from the

LexisNexis service, of the article New-Nazis vs. the Klan? It Must Be East Texas, published by

the Fort Worth Star-Telegram November 1, 2014, a version of which is available online at

http://www.star-telegram.com/opinion/opn-columns-blogs/bud-kennedy/article3894428.html.

       9.         Attached hereto as Exhibit G is a true and correct copy, pulled from the

LexisNexis service, of the article Rep. Steve King Thinks Dreamers Who Want To Join Military

Should Be Deported, published by the UPI service on April 4, 2014, a version of which is

available online at http://www.upi.com/Top_News/US/2014/04/04/Rep-Steve-King-thinks-

Dreamers-who-want-to-join-military-should-be-deported/8021396624047/.

       10.        Attached hereto as Exhibit H is a true and correct copy, pulled from the

Washington Post website, of the article House Votes To Block Obama’s Immigration Actions—

But Exposes New GOP Divisions, published by the Washington Post on January 14, 2015, a

version of which is available online at http://www.washingtonpost.com/blogs/post-

politics/wp/2015/01/14/house-votes-to-block-obamas-immigration-actions-but-exposes-new-

gop-divisions/.

       11.        Attached hereto as Exhibit I is a true and correct copy, pulled from the CNN Wire

service, of the article Showdown: California Town Turns Away Buses Of Detained Immigrants,

published by CNN on July 3, 2014.
 Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 20 of 51




       I declare under penalty of perjury that the foregoing is true and correct. Executed on this

14th day of January, 2015.


                                                                Nina Perales
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 21 of 51




                              Exhibit A
      Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 22 of 51
                                                                                                                     Page 1




                                                 4 of 233 DOCUMENTS


                              Copyright 2015 The Houston Chronicle Publishing Company
                                                All Rights Reserved
                                               The Houston Chronicle

                                                January 6, 2015 Tuesday
                                                   3 STAR EDITION

SECTION: A; Pg. 1

LENGTH: 1366 words

HEADLINE: Immigration;Volunteers surging to patrol border;

BYLINE: By Lomi Kriel

BODY:

    Michael Vickers has been on what he likes to call the front lines in the battle against illegal immigration for more
than a decade, finding dead bodies of migrants on his South Texas ranch.

    Vickers and about 300 volunteers, many from Houston, patrol Brooks County's brushy mesquite each month to
hunt out immigrants here illegally and report them to U.S. Border Patrol.

    Just 70 miles from the Mexico border, the area has been a busy crossing for migrants. And it's now attracting
renewed attention after President Barack Obama announced his sweeping executive action for immigrants in November.
Since then, Vickers said he's seen an uptick in people wanting to join Texas Border Volunteers, which he founded in
2005.

    "Everybody's frustrated. It's just insane to do what he's proposing," the 65-year-old veterinarian said. "All that's
going to do is create more traffic, more illegal smuggling, more dead bodies in Brooks County. We have absolutely
nothing to gain and everything to lose."

     Obama's changes would provide work permits to 4.7 million immigrants who've been here illegally for years and
strengthen border security, though few details have been released as to how. But federal officials have said recent
border-crossers are now their highest priority.

    Still, Vickers isn't alone in worrying about the executive order's impact. Powerful conservative national grass-roots
groups like NumbersUSA and Heritage Action are rallying supporters to pressure Congress. Others are joining militia
groups like the one Vickers leads or myriad others with names like the Oathkeepers and American Patriots which
sprang up or resurged after an influx of Central American children on the Southwest border last summer. In all,
conservative groups expect the flurry of anti-immigration activity to escalate this year as lawmakers return.
     Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 23 of 51
                                                                                                                  Page 2
          Immigration;Volunteers surging to patrol border; The Houston Chronicle January 6, 2015 Tuesday



    "People are discouraged and disgusted," said Larry Korkmas, the tea party-aligned president of the Houston-based
Texans for Immigration Reduction and Enforcement. "There has been self-mobilization all over."

   Maria Espinoza, director of the Remembrance Project, a Houston-based nonprofit focused on honoring Americans
who've been killed by immigrants here illegally, said her members are closely monitoring how Congress acts.

    "Our families are asking for the bare minimum here, lawfulness," she said, calling Obama's action illegal.
Espinoza, the daughter of a Mexican immigrant who came here on a work visa in the 1950s, said her group's
membership has grown across the nation because there's a need.

     "Every time an American is killed by someone who wasn't supposed to be here in the first place, that's personal,"
she said.

    Unlike previous high-profile immigration clashes focused on California and Arizona, Texas now is the battle's
center stage.

    "Arizona pretty much replaced California as the hot spot for several years, but Texas is so much bigger, and once
Texas takes on something big, it just kind of takes over the room," said Roy H. Beck, who heads NumbersUSA, an
advocacy group focused on reducing immigration. "I'd say on this immigration fight that's happening."

     It's a marked shift for the state, as for decades Texas Republicans were GOP outliers on immigration, allowing, for
instance, in-state public college tuition for youth here illegally, approved by Gov. Rick Perry.

    "Texas has always been happy with being a border state, its mixed cultures," Beck said. "The Texas way of dealing
with its Mexican-American population has always been different. It's the Texas exceptionalism."

    It started with Prop 187

    The major immigration crisis unfolded first in California, which passed Proposition 187, a controversial 1994 ballot
measure limiting social services to immigrants here illegally. It was later found unconstitutional. The California
Minutemen Project exploded into a nationwide movement with hundreds of militia groups patrolling the Arizona
border in 2005. They helped stymie a GOP effort at immigration reform attempted under then-President George W.
Bush.

     Since then Arizona has taken the lead in pushing for tough anti-immigration laws, including one in 2010 requiring
police to determine someone's immigration status if there's "reasonable suspicion" they're here illegally.

     But the anti-illegal immigrant movement faded from view after Mitt Romney lost his 2012 presidential bid. The
number of armed border patrols dwindled from more than 300 at its peak in 2010 to just more than 30 in 2013, said
Mark Potok, a senior fellow at the Southern Poverty Law Center, an Alabama-based civil rights organization monitoring
hate groups.

    Intense infighting between the groups split them, Potok said. Criminal scandals, most notably the 2011 murder
conviction in Arizona of vigilante Shawna Forde for shooting and killing a 29-year-old Hispanic man and his
9-year-old daughter, shamed the movement. Many conservative state legislatures adopted policies for which the groups
had advocated.

    "It looked like the politicians were doing the work these groups wanted and nothing much happened really until the
unaccompanied children crisis," Potok said.

    The arrival of more than 63,000 Central American children in South Texas last year thrust immigration into the
spotlight, making it a major political crisis. About 17 militia "teams" are active on the Texas border, more than in any
other state, according to the website Patriot Information Hotline, which helps recruit and organize groups. Many formed
     Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 24 of 51
                                                                                                                   Page 3
          Immigration;Volunteers surging to patrol border; The Houston Chronicle January 6, 2015 Tuesday



human chains blocking immigrants at the border. Two militia members were arrested for having explosives and
possessing firearms as felons. And in July, Chris Davis of Von Ormy, a 37-year-old commander of the militia group
"Operation Secure Our Border: Laredo Sector," said in a since-deleted Youtube video, "You see an illegal. You point
your gun dead at him, right between his eyes, and you say, 'Get back across the border or you will be shot.' "

    Republicans move right

    Meanwhile, Texas Republicans' stance on immigration has moved right. In the last eight years, Perry, a likely 2016
presidential contender, has spent more than $800 million on beefed-up border security, touting it as an example of his
leadership. Gov.-elect Greg Abbott is leading the charge to unravel Obama's executive action by challenging its legal
authority. New Lt. Gov. Dan Patrick has pledged border security as his top priority and has warned immigrants "are
bringing Third World diseases with them." In all, the new Legislature, convening in January, is more conservative on
immigration than it has ever been.

     Serious activism trying to undo Obama's executive action will pick up in January, said Ira Mehlman, spokesman for
the Federation for American Immigration Reform, a Washington D.C.-based organization pushing for limited
immigration.

     "People are still coming to grips with the scope of the amnesty," he said. "But generally our members aren't taking
to the streets for mass rallies, that's something for the other side. Our people are showing up at town hall meetings,
members' offices, they're phoning, they're emailing."

    It's unclear how effective these groups can be. A poll released this month by the Pew Research Center and USA
Today found the public is essentially equally divided over executive action. Fifty percent disapprove and 46 percent
approve.

     And if anyone could have stopped executive action, they would have already done so, said Frank Sharry, executive
director of America's Voice, a national immigration reform group.

    "They have no viable strategy to stop it," he said.

    At the same time, Border Patrol figures show that in the past two months apprehensions of immigrants crossing the
southwest border illegally fell 24 percent to 51,129 compared to the same period last year. In all, immigrant
apprehensions - considered the best gauge for how many are crossing illegally - are at their lowest levels since the
1970s, according to Homeland Security.

    Nevertheless in Brooks County, Vickers said his group recently wrapped up a four-day mission helping catch about
20 migrants a night, five times more than they saw throughout the fall.

   "Our traffic has quadrupled in just a few weeks," he said. "This executive action is just going to be another
magnet."

    lomi.kriel@chron.com

GRAPHIC: Courtesy photo Members of volunteer groups on the U.S.-Mexico border carry weapons and tactical gear
and wear masks and camouflage in their activities.

LOAD-DATE: January 6, 2015
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 25 of 51




                              Exhibit B
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 26 of 51
                                                                                 Page 1




                                  5 of 13 DOCUMENTS


             Copyright 2014 The Houston Chronicle Publishing Company
                               All Rights Reserved
                              The Houston Chronicle

                               January 20, 2014 Monday
                                    3 STAR EDITION

SECTION: B; Pg. 1

LENGTH: 592 words

HEADLINE: Commentary;Sen. Patrick linking immigration and violent crime;

BYLINE: By Peggy Fikac

BODY:
   At a forum where statewide candidates strutted their stuff for leading business
groups, Sen. Dan Patrick could have focused on pretty much any angle when he talked
about immigration.
   There is the reality that people working here without documents are woven into
the economy. There's the question of how much responsibility businesses should bear
for checking on prospective workers' immigration status. There is the fact that key
business leaders stymied so-called sanctuary city legislation in the 2011 legislative
session.
   Patrick - locked in a tough GOP primary fight for lieutenant governor in which
candidates are positioned - chose to tie it to violent crime.
   He pounded the need for border security by citing "hardened criminals we arrested
from 2008 to 2012 - not illegals who were here for a job, who got four speeding tickets,
but hardened criminals - 141,000 we put in our jails just in four years in Texas."
   "They threaten your family. They threaten your life. They threaten your business.
They threaten our state," he said, adding that they were charged with 447,000 crimes
including 2,000 murders and 5,000 rapes.
   Violent crime is scary, and if you're a law-abiding person, you're probably against
it, no matter your stand on immigration.
   But Patrick's stark language could seem a counterpoint to concerns that Re-
publicans' future depends on the party attracting more support from the growing
Hispanic population.
   Patrick, of Houston, didn't back away when I talked to him about it later.
   "I'm trying to sound the alarm that this is about crime," he said. "When I talk
to Hispanic groups about this, they don't object to this message. Most of that crime,
one might argue, is in their neighborhoods. That's where these people are setting
up shop."
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 27 of 51
                                                                              Page 2
Commentary;Sen. Patrick linking immigration and violent crime; The Houston Chronicle
                              January 20, 2014 Monday


   Although the other GOP candidates for lieutenant governor used generally less
strident language in speaking to the Texas Business Roundtable, there's little
daylight among them on key immigration-related issues.
   Patrick, Lt. Gov. David Dewhurst, Land Commissioner Jerry Patterson and Ag-
riculture Commissioner Todd Staples all want to target so-called sanctuary cities.
Sanctuary-city legislation has sought to ensure officers can question detainees about
their immigration status regardless of whether their chiefs think it's a good idea
(many don't, fearing that community cooperation will be damaged).
   All four want to scrap the law that allows in-state college tuition for certain
undocumented immigrants. All oppose amnesty.
   In addition, Patterson (who has an initiative to reach out to Hispanics) and
Staples have backed separate proposals for guest-worker programs.
   And when the dust settles, whoever captures the GOP nod will face Sen. Leticia
Van de Putte, a Latina who will present a stark contrast to voters as she runs for
lieutenant governor.
   Van de Putte, D-San Antonio, sponsored the 2001 in-state tuition law, and she spoke
in forceful, personal terms in opposing the 2011 sanctuary city bill. While not a
supporter of automatic amnesty, she supports a pathway to citizenship for those who
want to stay.
   When she announced for lieutenant governor, she gave a preview of the battle to
come.
   "They'll say we can't win because Texas is a red state. They'll say that little
ol' Leticia Rosa San Miguel Van de Putte from the barrio becoming lieutenant governor
will never happen," she said then.
   "Well, take my word for it, since I'm an actual Hispanic. You can't successfully
fight for the Hispanic vote unless you successfully fight for Hispanic families."
   pfikac@express-news.net
   twitter.com/pfikac

LOAD-DATE: January 20, 2014
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 28 of 51




                              Exhibit C
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 29 of 51
                                                                               Page 1




                                 20 of 34 DOCUMENTS


                    Copyright 2014 The Austin American-Statesman
                                 All Rights Reserved
                          Austin American-Statesman (Texas)

                                June 23, 2014 Monday
                                    Final Edition

SECTION: METRO; Pg. B1

LENGTH: 543 words

HEADLINE: Patrick has referred to an 'invasion' of immigrants in Texas

BYLINE: W. Gardner Selby American-Statesman Staff

BODY:
   A claim about Dan Patrick by an organizer for Battleground Texas, a pro-Democratic
group, rang a bell.
   Jeremy Bird said in a recent Bloomberg TV interview that Patrick, the Houston state
senator who dusted incumbent David Dewhurst in the May 2014 primary runoff for the
Republican lieutenant governor nomination, has "called immigration into Texas an
invasion" and "said immigrants coming into Texas bring â third-world diseases.'"
   We looked into whether Patrick made these statements.
   We found that Patrick, championing his desire to secure the Texas-Mexico border,
has often called for a stop to "the invasion," referring to individuals who cross
the border without legal documentation.
   Spokeswoman Lynda Tran of Battleground Texas noted by email that Patrick has an
undated online post in which he asks supporters to donate "if you agree we must stop
the illegal invasion!"
   According to a January 2014 news story in the Dallas Morning News, Patrick and
another GOP aspirant blasted Dewhurst in a Jan. 27 debate for not doing more to secure
the Texas border from illegal immigration. "The first question is to stop the
invasion," Patrick said. "Until you secure the border, you cannot address any other
issues."
   A Feb. 24, 2006, Texas Observer story described Patrick, then waging his first
Senate campaign, as blaming illegal immigrants for a rising crime rate, overcrowded
schools, an overburdened health care system and runaway growth in the state budget.
   "The number one problem we are facing," the Observer quoted Patrick as saying,
"is the silent invasion of the border. We are being overrun. It is imperiling our
safety."
   The Observer story revealed Patrick's claims about disease along the border,
saying he characterized illegal immigrants as walking pathogens. "They are bringing
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 30 of 51
                                                                             Page 2
       Patrick has referred to an 'invasion' of immigrants in Texas Austin
                 American-Statesman (Texas) June 23, 2014 Monday


Third World diseases with them," Patrick said, mentioning "tuberculosis, malaria,
polio and leprosy."
   More recently, Patrick has suggested critics distort what he said in 2006.
   He bridled after San Antonio Mayor Julian Castro said to him in an immigration
debate in April: "You have talked about undocumented immigrants bringing third-world
diseases including leprosy and polio to Texas. You have said that we're seeing an
illegal invasion from Mexico."
   Patrick shot back that his comment about disease in 2006 was based on information
distributed by the U.S. Centers for Disease Control indicating tuberculosis cases
were up nationally and in Texas, "particularly along the Texas-Mexico border - and
those cases were coming from Latin America," Patrick said.
   Texas Department of State Health Services spokesman Chris Van Deusen told us that
the diseases listed by Patrick are not experiencing outbreaks tied to immigration.
   Our ruling:
   The Battleground Texas activist said Patrick has "called immigration into Texas
an invasion" and has "said immigrants coming into Texas bring 'third-world dis-
eases.'"
   We're not judging whether Patrick was right about either of those things. But he
did say them. The Democratic group's statement is True.
   Contact W. Gardner Selby
   at 512-445-3644.
   Twitter: @gardnerselby
   @politifacttexas
Battleground Texas
  Statement: Says Dan Patrick has "called immigration into Texas an invasion" and
"said immigrants coming into Texas bring â third-world diseases.'"


LOAD-DATE: June 23, 2014
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 31 of 51




                              Exhibit D
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 32 of 51
                                                                                Page 1




                                  4 of 9 DOCUMENTS


                          Copyright 2014 Los Angeles Times
                                 All Rights Reserved
                                  Los Angeles Times

                                August 1, 2014 Friday
                                     Home Edition

SECTION: MAIN NEWS; National Desk; Part A; Pg. 7

LENGTH: 739 words

HEADLINE: Militias draw scrutiny at Texas border;
The groups, some armed, are patrolling private land with permission from worried ranch
owners.

BYLINE: Molly Hennessy-Fiske

DATELINE:   HOUSTON

BODY:
   Masked militias have arrived in south Texas with semiautomatic rifles and tactical
gear, causing a stir not only in border communities but among state officials.
   News of the militias has spread at a time when the border has grown more militarized
in response to an influx of tens of thousands of Central American immigrants, many
of them families and children who made the crossing unaccompanied.
   Last month, Gov. Rick Perry activated 1,000 National Guard troops, drawing from
the Texas State Guard as well as the Texas Air and Army National Guard. That activation
came on top of a state Department of Public Safety border surge, bringing the state's
total monthly cost to more than $17 million.
   Perry has so far said the troops do not have arrest powers, something immigrant
advocates and some local officials oppose, although it appears they could if
authorized by the state.
   Militia members started arriving on the Texas border in recent weeks to assist
as part of a deployment they called Operation Secure Our Border: Laredo Sector. The
effort entails creating a training command near San Antonio and rotating groups south
to patrol private ranch land on the border with the permission of ranch owners.
   The early groups included Oath Keepers, Three Percenter's Club and Patriots. Then
the Minutemen announced that they too were deploying.
   There has been an online controversy. A militia member who appeared on YouTube
advising members to confront and intimidate those caught crossing the border
illegally caused a backlash. And there have been tensions between militia groups,
though no major clashes have been reported.
   Response to the groups has been mixed.
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 33 of 51
                                                                                Page 2
Militias draw scrutiny at Texas border; The groups, some armed, are patrolling private
land with permission from worried ranch owners. Los Angeles Times August 1, 2014
                                        Friday

   Supporters of the militias are planning a weeklong convoy from Murrieta, Calif.
-- site of recent anti-immigrant protests -- to the border city of McAllen, Texas.
The convoy, scheduled to start Saturday, will be "stopping to support citizen border
patrols along the way."
   Mike Morris, who works with the Three Percenter's Club, told the Los Angeles Times
that several militia groups were invited to south Texas by ranchers who face regular
break-ins and "incursions" by migrant groups.
   "It is a dangerous situation," he said.
   Morris said there were numerous militias operating without a central command, some
armed. Though some groups "observe and report," he said, others saw the need to be
armed in remote areas because if a threat arises "the Border Patrol are stretched
so thin -- they may not respond."
   "Some parts of the border these days, Border Patrol has pulled back and it's not
safe," Morris said.
   Local law enforcement circulated a bulletin among themselves after a group camped
out near an international bridge to Mexico in Pharr, Texas.
   Some sheriffs declined the militias' assistance, while others refused to take a
position on their presence.
   This week, the San Antonio Express-News published photographs of militia members
patrolling the border, including an image of a Border Patrol agent leaning through
an armed militia member's car window and pointing to a map. The paper reported that
a militia provided the photos on condition that the paper blur members' faces because
they feared being identified by cartels and gangs.
   Outraged, members of the Texas Democratic congressional delegation wrote a letter
to the state's attorney general demanding he denounce the militias and define what
they can legally do.
   The dozen members of the delegation said they were "deeply disturbed" by the images
of "armed and masked militia groups purportedly patrolling our Texas border in
response to the arrival of unaccompanied children from Central America to our state."
   They called the militias "lawless," warned that they "perpetuate the stigma that
the border is a war zone" and requested that the attorney general "clarify the
jurisdiction these militia groups have to patrol alongside local law enforcement and
Border Patrol agents."
   Atty. Gen. Greg Abbott, a Republican campaigning to replace Perry as governor,
dismissed the letter through a spokeswoman.
   Abbott backed the National Guard deployment and the state border surge, and has
demanded the federal government foot the bill.
   Abbott spokeswoman Lauren Bean called the letter a "partisan political stunt" and
said that instead of complaining about the militias, the Democrats "should work with
their Republican colleagues to secure federal funding for the state's border security
efforts."
   --
   molly.hennessy-fiske@latimes.com

LOAD-DATE: August 1, 2014
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 34 of 51




                              Exhibit E
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 35 of 51
                                                                               Page 1




                                  7 of 29 DOCUMENTS


                         Copyright 2014 The Wichita Eagle
                                All Rights Reserved



                             The Wichita Eagle (Kansas)

                               November 21, 2014 Friday

SECTION: politics_government

LENGTH: 692 words

HEADLINE: Kris Kobach dismisses controversy over 'ethnic cleansing' comment

BYLINE:   Bryan Lowry; The Wichita Eagle

BODY:
   Secretary of State Kris Kobach says that he did not mean to imply President Barack
Obama's executive action on immigration would lead to ethnic cleansing and that
liberal news sites have taken his words out of context and twisted their meaning.
   Kobach hosts a two-hour call-in radio show on KCMO Talk Radio on Sunday evenings.
The second hour of his most recent show focused on Obama's action on immigration,
which has halted deportation for nearly 5 million undocumented immigrants.
   A caller asked Kobach if the executive action, which the president announced in
a speech Thursday, could lead to southwestern states experiencing a wave of border
crossings and whether that would lead to ethnic cleansing of whites.
   Kobach didn't exactly say yes. But he didn't exactly say no either. He used the
caller's inquiry as a jumping off point to discuss "the rule of law," which he accused
Obama of violating.
   "What protects us in America from any kind of ethnic cleansing is the rule of law,
of course. And the rule of law used to be unassailable...And now, of course, we have
a president who disregards the law when it suits his interests," Kobach said as riffs
from the song "Mysterious Ways" by U2 played. "So, while I normally would answer that
by saying, 'Steve of course we have the rule of law, that could never happen in
America.' I wonder what could happen. I still don't think it's going to happen in
America, but I have to admit, things are strange and they are happening."
   Kobach's comments and an excerpt of the audio were posted on the liberal website
Right Wing Watch on Thursday several hours before Obama delivered his address to the
nation. The two full hours of the show can be downloaded from KCMO's site.
   The comments began circulating widely, picked up by national and local news outlets
and sparking criticism.
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 36 of 51
                                                                             Page 2
Kris Kobach dismisses controversy over 'ethnic cleansing' comment The Wichita Eagle
                         (Kansas) November 21, 2014 Friday


   "Good to see the Kansas Secretary of State believes Obama's immigration order will
lead to 'ethnic cleansing.' Reasoned, intelligent response," Dave Anthony, a Los
Angeles-based writer and comedian, wrote sarcastically on Twitter.
   Barb Shelly, an opinion columnist for the Kansas City Star, The Eagle's sister
paper, called Kobach's comments ridiculous and demagogic, accusing him of "ginning
up fears and resentment toward immigrants."
   Friday morning, Kobach said his comments had been "ripped out of context."
   "The whole preceding hour was about the rule of law being under threat. That's
all I said. But I said very clearly in the comments that I still don't think it could
happen here," Kobach said. "I find the leftwing attempts to read into my statements
things that are not there ridiculous."
   Kobach said he was just trying to be polite to the caller.
   "The guy just brought up ethnic cleansing out of the blue and I tried to be polite
with him as I disagreed with him and said that's not going to happen," Kobach said.
"I'm actually a very friendly host."
   Sulma Arias, the executive director of Wichita-based Sunflower Community Action,
a group that works to politically mobilize the Latino community, did not accept
Kobach's claim that his words were strewn out of context.
   "It was no mistake. He knows exactly what he puts out there. He's a very smart
man and he has an agenda. And it's out there because that's what he believes," Arias
said.
   Arias noted that Kobach was one of the authors of a controversial Arizona law that
requires police officers to determine the immigration status of a person stopped,
detained or arrested if there is reasonable suspicion the person is in the country
illegally. Critics say the law encourages racial profiling.
   "He has a strategy," Arias said. "And I think his strategy is to demonize a group
of people for so long and so many ways that...after a while it's okay to do horrendous
things to them."
   Arias' group held a party to watch the president's speech Thursday night. Regarding
the significance of the executive action, Arias said, "It means that at least half
of the people in this country that he (Kobach) persecuted will now have a little more
protection for the next few years."
   Reach Bryan Lowry at 785-296-3006 or blowry@wichitaeagle.com Follow him on
Twitter: @BryanLowry3.

LOAD-DATE: November 22, 2014
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 37 of 51




                              Exhibit F
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 38 of 51
                                                                               Page 1




                                 20 of 31 DOCUMENTS


                      Copyright 2014 Fort Worth Star-Telegram
                                All Rights Reserved



                         Fort Worth Star-Telegram (Texas)

                             November 1, 2014 Saturday

LENGTH: 475 words

HEADLINE: Neo-Nazis vs. the Klan? It must be East Texas

BYLINE:   Bud Kennedy; bud@star-telegram.com

BODY:
   White racists will gather in East Texas next weekend.
   Yes, even more than on any other weekend.
   In a battle of the burning crosses, an extremist white neo-Nazi group and a Ku
Klux Klan klavern plan competing rallies Saturday, campaigning for white members,
money and media in the most conservative part of Texas.
   The Michigan-based neo-Nazi National Socialist Movement promises a "show of force"
against illegal immigration, starting on the Rockwall County Courthouse steps (where
city officials are choosing not to enforce permit rules), and then moving to a private
ranch for a swastika-lighting.
   Nazi "Commander" Jeff Schoep was stunned to learn about his competition.
   The Texas Knights of the Ku Klux Klan, based in neighboring Hunt County, are
promoting a noon rally in Nacogdoches against all legal and illegal "mass" im-
migration, ending with a cross burning.
   I've lived in Texas my whole life, and I have never heard of dueling cross and
swastika burnings.
   "You mean the Klan is doing a protest just like ours ?" Schoep said by phone Friday
from Detroit, sounding almost peeved.
   "Which Klan group? Never heard of them!"
   The Texas Knights, formerly based in Waco, are the remnants of a prominent 1990s
klavern that staged much- publicized rallies in Waco, Fort Worth and throughout
Central and North Texas.
   A Knights flier calls for "honorable native-born white American men and women"
to "keep America American."
   Schoep's reply: "Hmph! Well, they're not anything like us . We're both pro-white,
but our politics are very different."
   Really?
    Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 39 of 51
                                                                          Page 2
 Neo-Nazis vs. the Klan? It must be East Texas Fort Worth Star-Telegram (Texas)
                           November 1, 2014 Saturday


   "Our policy is that religion is something for home and church," he said. " We're
a political movement. We don't have anything to do with religion."
   I see.
   The New York-based Anti-Defamation League tracks extremist groups and publishes
a schedule . Of 11 events in November, four are in Texas, also including two
patriot-militia "training" sessions in Dallas and Big Spring.
   Roberta Clark of the ADL's Dallas office quoted from the group's new website on
extremist groups, Combating Hate .
   "We believe that if nobody shows up [to counter-protest], there's less media and
less attention, which is what they want," she said.
   "The correct response to hate speech is neither silence nor more hate speech but
more good speech, maybe later at an event celebrating diversity and what we stand
for as Americans."
   She suggested events later in Nacogdoches and Rockwall to reinforce dignity and
respect for all.
   "In Texas, things like this do happen pretty regularly," she said. "I can't say
it's a surprise."
   Schoep said he's bringing the neo-Nazis' annual November gathering to Rockwall
because he had "quite a few requests from local citizens."
   "It's a natural fit for Texas," he said.
   Not my Texas.
   Bud Kennedy's column appears Sundays, Wednesdays and Fridays. 817-390-7538
   Twitter: @BudKennedy   Get alerts at RebelMouse.com/budkennedy

LOAD-DATE: November 6, 2014
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 40 of 51




                              Exhibit G
     Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 41 of 51
                                                                                                                   Page 1




                                               184 of 196 DOCUMENTS


                                                 Copyright 2014 U.P.I.
                                                 All Rights Reserved




                                                           UPI

                                          April 4, 2014 Friday 11:47 AM EST

LENGTH: 327 words

HEADLINE: Rep. Steve King thinks Dreamers who want to join military should be deported

BYLINE: AILEEN GRAEF

DATELINE: WASHINGTON, April 4

BODY:

    Rep. Steve King, R-Iowa, says that instead of allowing children of undocumented immigrants to join the military,
the U.S. should tell them, "We have a bus for you to Tijuana."

     "As soon as they raise their hand and say, 'I'm unlawfully present in the United States,' we're not going take your
oath into the military, but we're going to take your deposition and we have a bus for you to Tijuana," said King. "That's
the law."

     This is the same lawmaker who compared the children of undocumented immigrants to drug mules. The statement
is in response to the ENLIST Act proposed by Rep. Jeff Denham, R-Calif., which would allow Dreamers to enlist in the
military in order to start on the path to citizenship.

   Reps. Mo Brooks, R-Ala., and Louie Gohmert, R-Texas, stood by their fellow Republican and said, aside from the
undocumented status of these immigrants, their loyalty to the U.S. as members of the military is not guaranteed.

    "How do you ensure that illegal aliens are loyal to America and not another country?" Brooks asked. "Is it wise to
entrust illegal aliens with questionable loyalties with America's military secrets and weapons, including weapons of
mass destruction?"

    Democrats, who have been pushing for comprehensive immigration reform to take the more than 11 million
     Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 42 of 51
                                                                                                             Page 2
  Rep. Steve King thinks Dreamers who want to join military should be deported UPI April 4, 2014 Friday 11:47 AM
                                                       EST


undocumented immigrants from legal limbo, fired back at the remarks by their Republican colleagues, saying that their
comments are just plain insulting.

    "This rhetoric is insulting, unacceptable and harmful," DNC Chairwoman Debbie Wasserman Schultz, D-Fla., said
on a call with reporters. She added, "These most recent comments by my Republican colleagues are a new low in
Republicans' attempts to insult Hispanics and the immigrant community and derail immigration reform."

     The ENLIST Act is a companion bill to the DREAM Act, which allows the children of undocumented immigrants
to start on the path towards citizenship through attending college and receiving good grades.

    [HuffPost Live]

LOAD-DATE: April 5, 2014
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 43 of 51




                              Exhibit H
   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 44 of 51




The Washington Post: House votes to block Obama’s immigration actions — but exposes new
GOP divisions

By Ed O'Keefe January 14 at 12:24 PM

This item has been updated.

House Republicans voted Wednesday to undo years of President Obama's immigration policies,
launching a fresh attack on his executive actions as part of a plan to renew funding for the
Department of Homeland Security.

But in doing so, Republicans exposed fresh rifts in their expanded ranks as more than two dozen
members, mostly from suburban districts in swing states, voted against plans to end a program
granting temporary legal status to hundreds of thousands of “dreamers” — or children brought to
the country illegally by their parents who have served as the emotional centerpiece of the years-
long debate.

House approval of the spending bill is just the opening act in a debate expected to stretch into
late February, when homeland security expires. Legal challenges to Obama’s immigration
orders, led by Republican state attorneys general, are underway. A senior GOP lawmaker
suggested Wednesday that House and Senate leaders might also file suit.

The bill passed 236 to 191 with the support of two moderate Democrats. But 10 Republicans
voted against the final bill. Earlier, 26 Republicans — including several new members from
suburban districts around Chicago, Las Vegas, Miami and Philadelphia — joined Democrats in
voting against a proposal to end Obama’s Deferred Action for Childhood Arrivals program.

Rep. Mario Diaz-Balart (R-Fla.), a veteran Miami Republican who was among those to vote
against the bill and the DACA amendment, said that his party won't be able to settle the
immigration fight until it negotiates a bipartisan compromise with Obama.

“Regardless of what happens this week, this month, on this issue, it will not make the issue itself
go away,” he said.

But Rep. Robert Aderholt (R-Ala.) said he was encouraged by the strong support the bill
received from fellow Republicans. He was lead author of an amendment that would effectively
invalidate the executive actions taken by Obama in November and his policy instructing federal
immigration officers to focus their efforts on deporting illegal immigrants with criminal
backgrounds. The amendment passed with GOP support.

“It was a strong vote. I think it sends a message to the Senate as it goes forward. And we're
optimistic about it,” he said.

In the wake of terrorist attacks in France last week, Republicans have faced criticism from
Obama and congressional Democrats for delaying swift passage of new security funding. Some
party leaders and operatives also worry that the aggressive nature of the bill will once again spoil
GOP attempts to appeal to Hispanic and Asian voters in the 2016 president election. But GOP
   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 45 of 51




congressional leaders have said that the legislation is designed only to respond to Obama's
"executive overreach."

"We do not take this action lightly, but there is simply no alternative," Speaker John A. Boehner
(R-Ohio) said ahead of the vote as he recounted the 22 times he said Obama has raised doubts
about his ability to change immigration policy through presidential powers. "Enough is enough,"
he added later.

The White House denounced the House vote, saying Republicans were putting homeland
security funding, training and long-range planning at risk. Obama’s top domestic policy adviser,
Cecilia Muñoz, reiterated Obama’s threatened veto.

The House GOP “is interested in debating immigration but only interested in debating it if they
undo the most significant and constructive actions that have taken place in many years,” she said
in a conference call with reporters. Republicans are doing nothing on immigration that would
“move the country forward.”

Gil Kerlikowske, the commissioner of U.S. Customs and Border Protection, said Obama’s
executive actions are aimed at allowing the department to focus resources on deporting illegal
immigrants who have committed felonies or have terrorist ties, rather than those who are living
in the country illegally but do not break other laws.

“Prioritization is critical for any law enforcement agency,” he said.

While 218 Republicans voted for the amendment ending DACA, the "no" votes came from
newly-elected Reps. Bob Dold (R-Ill.) from the Chicago suburbs; Cresent Hardy (R-Nev.) from
the Las Vegas suburbs; Ryan Costello (R-Pa.) and Tom MacArthur (R-N.J.) from the
Philadelphia suburbs; Carlos Curbelo (R-Fla.), who represents a Miami-area district; Martha
McSally (R-Ariz.), who won her election by fewer than 200 votes; and Rep. John Katko (R-
N.Y.) from an Upstate New York district that has switched parties several times in recent years.

They were joined by senior Republicans in their state delegations, including Florida's Mario
Diaz-Balart and Ileana Ros-Lehtinen; Adam Kinzinger of Illinois; New Jersey's Chris Smith and
Frank LoBiondo; New York's Chris Gibson, Richard Hanna and Peter King; Pennsylvania's
Patrick Meehan and Charlie Dent; and Nevada's Mark Amodei and Joe Heck. Other members,
including Reps. Jeff Denham (R-Calif.), Devin Nunes (R-Calif.), David Valadao (R-Calif.), Fred
Upton (R-Mich.) and Mike Coffman (R-Colo.), also voted no.

In the Senate, Republicans control 54 seats, but 60 votes will be needed to advance the bill, and
no Democratic senator has expressed support for it. The impasse means Republican leaders will
need to negotiate a watered-down bill that can earn Democrat support, pass the Senate and be
sent back to the House before current homeland security funding expires on Feb. 27.

If Republicans fail to block Obama's immigration policies through legislation, House and Senate
leaders may team up on a new federal lawsuit challenging him, House Judiciary Committee
Chairman Bob Goodlatte (R-Va.) said Wednesday. Noting that several states are now
challenging Obama's immigration actions in court, he said a similar suit might be brought by
GOP lawmakers in the House and Senate.
   Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 46 of 51




"No decision has been made about that," he said, at a reporter breakfast hosted by the Christian
Science Monitor, adding that it's likely to be the subject of talks at a two-day GOP policy retreat
that begins Thursday at a conference center in Hershey, Pa.

"Congress has the right to write the laws and appropriate funds to programs under Article I of the
Constitution, and if we are successful in using that legislation and make it clear that there is no
legal authority for the president’s actions, then we don’t need to get to litigation," he added.

Sean Sullivan and David Nakamura contributed to this report.
Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 47 of 51




                              Exhibit I
      Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 48 of 51
         Showdown: California town turns away buses of detained
                               immigrants
                                                     CNN Wire
                                       July 3, 2014 Thursday 1:06 AM GMT
Copyright 2014 Cable News Network All Rights Reserved

Length: 1408 words
Byline: By Michael Martinez and Holly Yan, CNN
Dateline: (CNN)

Body
(CNN) -- The national controversy over a surge of Central American immigrants illegally crossing the U.S. border
established a new battleground this week in a Southern California small town where angry crowds thwarted
detained migrants from entering their community.

In a faceoff Tuesday with three buses carrying the migrants behind screened-off windows, the demonstrators
chanted "Go back home!" and "USA" and successfully forced the coaches to leave Murrieta, CNN affiliate KFMB
reported.

The buses instead took the 140 or so undocumented immigrants to U.S. processing centers at least 80 miles away,
in the San Diego and El Centro areas, federal officials say.

Counter-protesters squared off with the demonstrators, and a shouting match erupted over the nation's immigration
system, which recently has been overwhelmed with a tide of Central American minors illegally entering the United
States alone or with other children.

A mix of poverty, violence and smugglers' false promises is prompting the Central American inflow.

Unlike undocumented Mexican migrants, who are often immediately deported, the U.S. government detains and
processes the Central Americans, who are eventually released and given a month to report to immigration offices.
Many never show up and join the nation's 11 million undocumented population, says the National Border Patrol
Council, the union representing Border Patrol agents.

The Latin American immigrants rejected by Murrieta protesters were initially held in Texas, where U.S. facilities are
so overflowing that detainees are sent to other states for processing.

The government doesn't have the room to shelter the children with adults: there's only one family immigration
detention center, in Pennsylvania. To assist the unaccompanied children, President Barack Obama's administration
opened shelters last month on three military bases because federal facilities more designed for adults were
overrun with minors.

Tuesday's busloads of detained Central American immigrants didn't include any unaccompanied minors, said
Murrieta Police Chief Sean Hadden, who put the number of protesters at 125. The children on the buses were
apparently in the company of relatives or other adults, said an official with the National Border Patrol Council.

'Deport! Deport!'

The protesters, who shouted "Impeach Obama!" and "Deport! Deport!" confronted the buses a day after the town
posted a notice on its website: "Murrieta Opposes Illegal Immigrant Arrival."

"This is a failure to enforce federal law at the federal level," Mayor Alan Long said in a statement Monday about the
pending arrival of the 140 immigrants to the U.S. Border Patrol station. "Murrieta continues to object to the transfer
of illegal immigrants to the local border patrol office."
      Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 49 of 51
                      Showdown: California town turns away buses of detained immigrants


Long spoke to CNN's "Anderson Cooper 360" later Wednesday.

"It's not against the immigrants," he said. "They're trying to leave a less desirable place and come to the greatest
nation in the world. We can't blame them for that ... No one's protesting that. What we're protesting is the product
of a broken system that finally reached the doorstep of our community."

Long said that neither side in the national debate is coming up with a solution: "The problem still is there. The
problem is in Washington, D.C."

The local controversy was to continue with a town hall meeting scheduled for 6:30 p.m PT Wednesday. The U.S.
government is scheduled to send another group of undocumented immigrants to Murrieta for processing on Friday,
the union official for Border Patrol agents said.

Chief Hadden also said he was told to expect 140 immigrants every 72 hours, with the next group scheduled to
arrive on Friday, the Fourth of July.

Earlier Wednesday, immigration rights advocates denounced the protesters.

"It is deplorable that people espousing anti-immigrant hate language created unnecessary tension and fear for
immigrant mothers and their children," Pedro Rios, a community representative of the San Diego Immigrant Rights
Consortium, said in a statement. "Even more concerning is that elected officials in the City of Murrieta instigated
this tension. Mothers and their children on these buses have suffered through enough trauma."

At a Murrieta City Council meeting Tuesday night, Long seemed more conciliatory than his statement posted a day
earlier on the city's website. Long thanked police and others.

"Please remember these are human beings that are fleeing the violence in their home countries," Long said. "The
problem is that they need to come into this country the legal way."

Journey from Texas

The U.S. government earlier flew the 140 Central American immigrants from south Texas to San Diego. Federal
agents were busing them to Murrieta for processing at the Border Patrol station when the standoff took place
Tuesday, CNN affiliates reported.

After the buses turned around, the 140 immigrants were taken to the U.S. Border Patrol's San Ysidro station in San
Diego, said Ron Zermeno of the National Border Patrol Council

On Wednesday, Zermeno told CNN that at least 136 immigrants were fed and screened.

Among the group, 10 children were taken to local hospitals, though it's unclear why, Zermeno said. Seven more
children were diagnosed with active scabies, an itchy and highly contagious skin disease. Those children are being
kept separate from the others at the San Ysidro station, he said. Seventeen of the immigrants were taken to the
Boulevard station in eastern San Diego County, Zermeno said.

The U.S. government is struggling to detain and accommodate an influx of undocumented immigrants, particularly
a wave of unaccompanied children from the Central American countries of El Salvador, Guatemala and Honduras.
The U.S. government doesn't have enough beds, food or sanitary facilities.

Authorities estimate 60,000 to 80,000 children without parents will cross the border this year in what the White
House has called an "immediate humanitarian crisis."

To help relieve crowded facilities in Texas, undocumented immigrants are now being sent elsewhere to be
processed.

                                                      Page 2 of 4
      Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 50 of 51
                      Showdown: California town turns away buses of detained immigrants



But Zermeno contended that processing immigrants, rather than enforcing the borders, is only making the situation
worse.

"My concern is they are going to be eating in the same holding cells as someone sitting five feet away using the
bathroom," he said.

Intense debate

The furor in Murrieta illustrated the conflict between protecting the borders and ensuring the safety of detained
immigrants and children.

Protester Ellen Meeks said the country's identity has eroded with an influx of undocumented immigrants.

"I just wish America would be America again because it's not, and it's not just pointed to the Hispanics," Meeks
said. "Everybody needs to go through the legal ways."

Other protesters told CNN affiliate KGTV said they wanted immigrants to follow the legal process to enter the
United States.

"Everybody that wants to come to this nation is entitled to, but they should come the right way," Bob Cuccio told the
news outlet.

"You bring in all these children and they're going to take over our schools," Bel Reeves added. "What's going to
happen to the kids that were born and raised here?"

But immigration rights advocate Enrique Morones likened the migration to a refugee crisis and suggested racial
antipathy was motivating protesters.

"If these children were from Canada, we would not be having this interview," Morones said. "The parents have had
enough. They are saying, 'If I don't send my child north, they are going to die.'"
Last month, the Obama administration unveiled a plan to spend almost $100 million in aid to Guatemala, Honduras
and El Salvador to help reintegrate the undocumented migrants whom the United States will deport, and to help
keep them in their home countries.
The administration also will set aside $161.5 million this year for the Central American Regional Security Initiative
(CARSI) programs in an effort to "help stem migration flows as well as address the root cause of the migration," the
White House said.

The Obama administration has accused syndicates in Latin America of waging a deliberate campaign of
misinformation about relocating to the United States that has caused people in poor Central American countries
and Mexico to risk their lives to cross the U.S. border illegally.
CNN's Stephanie Elam, Rosalina Nieves, Traci Tamura and Greg Morrison contributed to this report.
TM & © 2014 Cable News Network, Inc., a Time Warner Company. All rights reserved.

Notes

Update 9:05 p.m. -- Adds interview with Murrieta mayor (grafs 13-15)

Classification

Language: ENGLISH

Publication-Type: Newswire

                                                      Page 3 of 4
     Case 1:14-cv-00254 Document 92-1 Filed on 01/14/15 in TXSD Page 51 of 51
                   Showdown: California town turns away buses of detained immigrants


Subject: IMMIGRATION (93%); BORDER CONTROL (90%); ILLEGAL IMMIGRANTS (90%); TERRITORIAL &
NATIONAL BORDERS (90%); HISPANIC AMERICANS (90%); PROTESTS & DEMONSTRATIONS (90%); LAW
ENFORCEMENT (90%); SPECIAL INVESTIGATIVE FORCES (89%); US FEDERAL GOVERNMENT (89%);
TELEVISION INDUSTRY (89%); CITY GOVERNMENT (89%); DEPORTATION (89%); SMUGGLING (78%);
IMMIGRANT DETENTION CENTERS (78%); MAYORS (77%); POLICE FORCES (77%); TELEVISION NEWS
SHOWS (73%); California Immigrant Transfers 9

Person: BARACK OBAMA (66%)

Geographic: SAN DIEGO, CA, USA (79%); CALIFORNIA, USA (94%); PENNSYLVANIA, USA (79%); UNITED
STATES (96%); CENTRAL AMERICA (94%); NORTH AMERICA (93%); MEXICO (79%); LATIN AMERICA (58%)

Load-Date: July 3, 2014




                                               Page 4 of 4
